                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


Peakspeed, Inc.,                                   Civil File No. 0:20-cv-01630-JRT-BRT

                     Plaintiff,                 PLAINTIFF’S MEMORANDUM OF
                                               LAW IN SUPPORT OF MOTION FOR
v.                                                PRELIMINARY INJUNCTION
Timothy Emerson,

                     Defendant.


                                   INTRODUCTION

       Plaintiff Peakspeed, Inc. (“Peakspeed”) is a small startup that is developing a

computer program called TrueView that uses special cloud-based processors known as

FPGAs to correct distortions in aerial images (such as those captured by satellites and

drones). Through a relationship and partnership with Xilinx, Inc. (“Xilinx”) (the inventor

of FGPAs), Peakspeed is piloting its technology with several companies and is on its way

to become the leader for this technology in a multi-billion dollar industry, an industry

fueled in large part by the defense and intelligence industries (who capture enormous

amount of satellite and drone images that must be processed very quickly).

       Before the Fourth of July holiday, Peakspeed’s Chief Technology Officer,

Defendant Timothy Emerson (“Emerson”) resigned. Thereafter, he went into

Peakspeed’s source code for TrueView and attempted to change the copyright notices to

EmersonAI, LLC—a company he claims to control and own. Emerson also blocked

access to several servers containing TrueView source code and to Peakspeed’s Amazon

Web Services (“AWS”) account. Emerson has also attempted to torpedo Peakspeed’s
business and relationships. Emerson sent letters to Peakspeed and its employees accusing

them of copyright infringement and threatening litigation. Emerson also threatened to

“kill” any deals between Peakspeed and Xilinx.

       Emerson’s conduct must be enjoined. Neither Emerson (nor EmersonAI) can be

the owner of the TrueView source code. Emerson is not the “author” of the source code

as that term is used under the Copyright Act. Emerson wrote only about 10% of the

source code—and even then, his contributions are not copyrightable—he contributed

coding only for well-known trigonometric calculations and open source materials for

memory management. The parties always intended for the source code to be owned by

Peakspeed, and Peakspeed has re-written any contributions made by Emerson.

Emerson’s work on the TrueView source code was also done as a work for hire—he

contributed to TrueView as an officer of Peakspeed, using Peakspeed’s tools, assistants

hired and paid for by Peakspeed, for the purpose of creating a program to be used by

Peakspeed in its business. Moreover, even if Emerson were a joint author of the source

code (which he is not), he still would have no right to interfere with Peakspeed’s use of

the source code.

       Yet, Emerson does threaten to interfere with Peakspeed’s use of the TrueView

source code—with potentially disastrous consequences. Emerson’s threat to cloud the

ownership of TrueView threatens to deprive Peakspeed of its relationship with Xilinx at a

crucial time. The market for Peakspeed’s products is emerging and Peakspeed has a

unique opportunity now to establish its reputation and market position. If its deals with

Xilinx are “kill[ed]” as threatened by Emerson—Peakspeed will lose its opportunity



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forever. For all these reasons, and those discussed below, Peakspeed respectfully

requests that the Court grant its motion for preliminary injunction.

                                     BACKGROUND

       A. Peakspeed Is a High-Tech Startup that Is Working to Create Programs to
          Do Extremely Fast Processing of Satellite and Drone Images Using New
          Cloud-Based Technology.

       Peakspeed is a recent startup company in the business of computer

programming— specifically it creates geospatial programs to be run on special computer

processors known as field programmable data arrays (“FPGAs”). Eaton Decl. ¶ 2.

Peakspeed’s current program development focuses on creating programs to correct

distortions in images created through satellite or drone images. Id. Due to topography,

the tilt of the camera, and the shape of the earth, all aerial photographs have spatial

distortions. Id. ¶ 3. These distortions must be corrected to accurately determine the

location of an object in an image. Id. Correcting these distortions requires mathematical

calculations and, due to the orthogonal angle between the camera and ground, is called

“orthorectification.” Id.

       Because “orthorectification” is done using mathematical calculations it is

amenable to being done rapidly using a computer. Id. ¶ 4. Traditional computers and

computer chips—such as CPUs—have speed limitations due to the generic hardware that

is used. Id. In particular, the circuitry of CPUs is designed to be multi-purpose. The

speed of computations can be increased by designing a chip with circuitry for a specific

purpose. Id. This can be accomplished using an FPGA processor, the hardware of which

can be altered to serve a specific purpose. Id. As an example, assume that, to perform a



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task, 1 billion multiplication calculations must take place. Id. A traditional CPU may

have two multipliers, and therefore each multiplier must run 500 million calculations

consecutively. FPGAs can be programmed to have many multipliers. Id. If, for

example, an FPGA had 1,000 multipliers, it could run those multipliers concurrently and

obtain a result 500 times faster than a traditional CPU. Id.

       FPGAs, however, have not been commonly implemented for several reasons. Id.

¶ 5. First, the programming languages are very difficult to master. Id. This is because

given “the very different programming model” of FPGA “where you’re actually

configuring the hardware,” the programming for FPGAs “is challenging for developers

used to higher level [i.e., more abstract] languages” used for CPUs. Mary Branscombe,

FPGAs and the New Era of Cloud-based ‘Hardware Microservices:’ THE NEW STACK

(Jun. 8, 2017 6:00 AM), https://thenewstack.io/developers-fpgas-cloud/. Accordingly,

FPGA languages can take several years to learn. Id. Second, the deployment and

maintenance of FPGAs is costly and complex. Eaton Decl. ¶ 5. Few companies have

programmers that understand how to integrate and manage FPGAs in a computing

environment. Id.

       Recently, however, a proverbial “gold rush” towards FPGAs has been created by

the availability of cloud-based FPGAs from Amazon Web Services (“AWS”) at the

beginning of 2018 and from Microsoft Azure in June 2020. Id. ¶ 6. Cloud-based FPGAs

provide a solution to common problems. Id. ¶ 7. First, by having FPGAs in the cloud,

AWS or Microsoft Azure are responsible for deployment and maintenance. Id. Second,

by having FPGAs accessible to clients in the cloud, companies with developers versed in



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FGPA languages can create programs that clients can access without need for any in-

house FPGA fluency. Id. Peakspeed is one such company.

       For startups seeking to develop programs for cloud-based FPGAs, like Peakspeed,

Xilinx plays a crucial role in finding business opportunities and creating applications for

clients. Id. ¶ 8. Xilinx designed the FPGAs and manufactures the corresponding FPGA

boards used by major cloud service companies like AWS and Azure. Id. Xilinx has a

symbiotic relationship with startups that create FPGA code. In order to help spur demand

for FPGAs, Xilinx encourages development of useful programs that operate on Xilinx-

made FPGAs that run in the cloud. Id. Xilinx does so by referring its clients with known

needs to developers that specialize in those needs. Id.

       B. A Peakspeed Team Develops Its TrueView Software—for Which
          Defendant Emerson Writes Only 10% of the Code.

       Peakspeed was formed by Dave Eaton (“Eaton”) in January 2020 in order to bring

the faster speeds of FPGAs to the world of orthorectification. See id. ¶ 9. With the

proliferation of satellites and drones, the demand for orthorectification is extraordinary—

an estimated $10-$15 billion market for software alone. Id. This is because producers of

data (satellite and drone owners) must orthorectify all their images in order to produce

accurate, usable images. Id. Given the amount of data produced—terabytes of data

every day for a single customer—increased processing speed results in a significant cost

savings. Id. In addition, much of the data is used by the intelligence and defense

industries—industries where time is of the essence: a few minutes, or even seconds, can

be the difference between life and death. Id. Accordingly, Eaton recognized a significant




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opportunity to use cloud-based FPGAs to increase processing speed for aerial images and

formed Peakspeed. Eaton Decl. ¶ 9.

       To help develop products for Peakspeed, Eaton hired Defendant Emerson to serve

as Chief Technology Officer (“CTO”). Id. Eaton and Emerson had worked together

previously at a company called DirectStream, which was also in the business of using

(non-cloud) FPGAs for satellite image processing. Id. ¶ 11. Emerson is a former

consultant who assisted with program development. Initially, Peakspeed developed ideas

for two products—an orthorectification product named TrueView, and an artificial

intelligence products named IdentifAI (which would be able to identify the number of

objects of interest, e.g., cars, ships, in an image). Id. Emerson is a former consultant and

assisted with program development by writing pieces of code. Id. ¶ 12. However,

Emerson does not have the expertise to serve as the architect for a full-production

program. Id. Because Emerson’s expertise and experience is in consulting and not in

building, testing, deploying and supporting a complete software product, Peakspeed

brought on additional talent—specifically Vice President of Software Engineering Dave

Zimmerman (“Zimmerman”) and Chief Geospatial Scientist Oscar Kramer (“Kramer”)—

to develop the software and serve as the architects for the TrueView program and authors

of the code. Id. Zimmerman joined Peakspeed in January 2020, and Kramer joined in

February 2020. Id. ¶ 13. To date, Peakspeed has developed pilot-level source code only

for TrueView. Id. This code can be implemented on a pilot basis in response to requests

for proposals from potential clients. Id.




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       TrueView consists of three essential software components. Eaton Decl. ¶ 14. The

first component runs a CPU driver that preprocesses the image data, communicates with

the FPGA, and process the output. Id. The second component, an FPGA component,

reads in the memory and performs the classical orthorectification mathematics to produce

the output image. Id. The third component, infrastructure code, builds, tests, validates,

and deploys working software to the cloud. Kramer was solely responsible for the first

component, Kramer and Emerson co-created the FPGA component, and Zimmerman lead

the infrastructure component and managed the overall delivery of the effort. Id.

       For his part, Emerson worked on coding one component—programming FPGAs

to carry out the trigonometric calculations needed for orthorectification. Id. ¶ 15. The

calculations are trigonometric in nature, well known in the industry, and code for CPU-

based versions of these calculations exists in the public domain. Id. Therefore,

Emerson’s primary task for the TrueView product was to convert the well-known code

for the orthrectification trigonometric calculations into the equivalent FPGA code using

FGPA software development tools. Id. Emerson had skills to write prototype and

demonstration code, but is neither skilled nor experienced at architecting software fit for

production. Id. ¶ 16. The FPGAs offered on the AWS-cloud used FPGA boards

manufactured by Xilinx, and therefore Emerson relied heavily on Xilinx sample code in

the public domain to create a demo. Id. Eventually, to assist Emerson in creating a

useable, marketable product, Peakspeed hired two programmers well versed in Xilnx

tools and FPGA programming—Dave Caliga and Pradeep Thiruchelvam. Id.




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       C. Emerson Resigns from Peakspeed, Attempts to Change the Copyright to
          TrueView, and Threatens to Interfere with Peakspeed’s Most Valuable
          Business Relationship.

       On July 1, 2020, Emerson abruptly announced his resignation from Peakspeed.

Eaton Decl. ¶ 18. On July 3, 2020 (a national holiday to observe the Fourth of July),

Emerson logged onto DevOps—the system in which Peakspeed’s TrueView source code

is maintained. Id. ¶ 19. He then began changing the source code copyright notices from

Peakspeed to EmersonAI. Id. This included code that Emerson wrote, as well as code

that other programmers wrote. Id. Emerson changed the copyrights on 230 files, but only

worked on fifteen. Id. Emerson then logged onto Peakspeed’s AWS account and

changed the account assignment from Peakspeed to EmersonAI. Id. ¶ 20. He also locked

out all of Peakspeed’s employees. Id. Locking Peakspeed’s employees out of their AWS

account deprived Peakspeed of a development server rented from AWS and a $20,000

AWS credit that was awarded to Peakspeed. Id. Emerson also locked Peakspeed

employees out of two development servers that he co-owned with Eaton’s son that were

used by Peakspeed—retaining copies of the Peakspeed source code for himself. Id.

       As a result of Emerson’s conduct, Peakspeed had to open a new AWS account,

rent new servers, and rebuild its entire development environment—losing weeks of work

in the rebuilding process. Id. ¶ 21. To avoid any copyright disputes, Peakspeed

programmers also began removing code written by Emerson and re-writing the code from

scratch. Id.

       Nonetheless, Emerson has begun to claim ownership to the TrueView source code.

In particular, Emerson sent letters to Eaton, Kramer, and Peakspeed’s other employees



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accusing them of copyright infringement and other intellectual property violations. Eaton

Decl. ¶ 22, Exs. 1-3. Emerson also contacted Xilinx and informed Xilinx that there was a

“misunderstanding” between him and Peakspeed with respect to the ownership of the

Peakspeed products. Id. ¶ 23. In response, Xilinx informed Peakspeed that a dispute

could cause a problem between Xilinx and Peakspeed. Id.

       The relationship with Xilinx is crucial to Peakspeed and TrueView’s future

success. Id. ¶ 24. Xilinx has assisted, or is currently assisting, Peakspeed in obtaining

ten to twelve pilot projects (between proposal stage and completion) and also committed

to sharing costs of development for these pilot projects. Id. This is just the tip of the

iceberg for business opportunities. Id. Given the emerging nature of the market for

cloud-based FPGA programs, successful pilot programs will lead to additional referrals

and also establish Peakspeed as the leader in cloud-based FPGA geospatial programming.

Id. Xilinx will not refer clients to Peakspeed or proceed with pilot projects if there is a

dispute as to whether Peakspeed owns the programs it will be piloting in the first place.

Id. Knowing this, Emerson also sent a text message to Eaton stating that, “if either . . .

Dave Eaton or Peakspeed brings a lawsuit against EmersonAI, that will kill any business

deals with Xilinx, because they won’t do business with either EmersonAI or Peakspeed.”

Id. Ex. 4.

                                        ARGUMENT

       A. Standard of Review

       A plaintiff seeking a preliminary injunction must establish (1) that the plaintiff is

likely to succeed on the merits; (2) that the plaintiff is likely to suffer irreparable harm in



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the absence of preliminary relief; (3) that the balance of equities tips in the plaintiff’s

favor, and (4) that an injunction is in the public interest. Winter v. Nat. Res. Def. Council,

Inc., 555 U.S. 7, 20 (2008); Dataphase Sys., Inc. v. C.L. Sys., Inc., 640 F.2d 109, 114 (8th

Cir. 1981). Under Eighth Circuit law, no single factor is dispositive, but each must be

considered to determine whether the balance of equities weighs toward granting the

injunction. Dataphase, 640 F.2d at 113.

       B. Peakspeed Is Likely to Succeed on the Merits of Its Claims

           1. Peakspeed Is Likely to Demonstrate It Is the Sole Owner of the
              TrueView Copyright

       Peakspeed—not Emerson and certainly not EmersonAI—is the owner of the

copyright to the TrueView source code. Source code is a form of “literary work”

protectable under the Copyright Act. Apple Comput., Inc. v. Franklin Comput. Corp.,

714 F.2d 1240, 1249 (3d Cir. 1983). Under the Copyright Act, copyright ownerships

“vests initially in the author” of a work. 17 U.S.C. § 201(a). “As a general rule, the

author is the party who actually creates the work, that is, the person who translates an

idea into a fixed, tangible expression entitled to copyright protection.” Cmty. for

Creative Non-Violence v. Reid, 490 U.S. 730, 737 (1989). “The [Copyright] Act carves

out an important exception, however, for ‘works made for hire,’” for which the “‘the

employer or other person for whom the work was prepared is considered the author’ and

owns the copyright.” Id.

       EmersonAI has had no relationship with Peakspeed and, as an LLC, cannot have

fixed source code from an idea into a tangible expression. Emerson did write portions of




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a previous version of TrueView source code—evidently leading him to view himself as a

joint author of the code. Emerson cannot be a joint author of the TrueView code,

however, because (1) his contribution to the code is not independently copyrightable and

he did not exercise any creative control over TrueView, (2) his contributions have been

removed, and (3) his work on the TrueView source code was a “work for hire.”

               a. Emerson’s Contributions to the TrueView Source Code Are Not
                  Independently Copyrightable

         Not every person that contributes to a copyrightable work becomes a joint author

of that work. The Eighth Circuit has not articulated the elements for determining joint

authorship, but district courts in the Eighth Circuit have followed the majority of Circuits

in requiring, at least: “(1) independently copyrightable contributions by two or more

authors; and (2) the authors intended their contributions to be merged into inseparable or

interdependent parts of a unitary whole.” Really Big Coloring Books, Inc. v. Delta

Dental Ins. Co., No. 4:18CV622 JCH, 2018 U.S. Dist. LEXIS 144225, at *7 (E.D. Mo.

Aug. 24, 2018). See Two Palms Software, Inc. v. Worldwide Freight Mgmt. LLC, No.

4:10-cv-1045(CEJ), 2012 U.S. Dist. LEXIS 88106, at *5–6 (E.D. Mo. June 26, 2012); see

also Cody Foster & Co. v. Urban Outfitters, Inc., No. 8:14-CV-80, 2015 U.S. Dist.

LEXIS 189532, at *10 & n.4 (D. Neb. Sep. 25, 2015) (collecting cases showing majority

rule).

         Copyright protects “original works of authorship fixed in any tangible medium of

expression.” 17 U.S.C. § 102(a). “Original, as the term is used in copyright, means only

that the work was independently created by the author (as opposed to copied from other




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works), and that it possesses at least some minimal degree of creativity.” Feist Publ'ns,

Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 345 (1991). “In no case does copyright

protection for an original work of authorship extend to any idea, procedure, process,

system, method of operation, concept, principle, or discovery, regardless of the form in

which it is described, explained, illustrated, or embodied in such work.” 17 U.S.C. §

102(b) (emphasis added).

       Therefore, it is fundamental that mathematical formulas and equations are not

entitled to copyright protection, regardless of form. Baker v. Selden, 101 U.S. 99, 103

(1879) (“The copyright of a work on mathematical science cannot give to the author an

exclusive right to the methods of operation which he propounds, or to the diagrams which

he employs to explain them, so as to prevent an engineer from using them whenever

occasion requires.”). Here, Emerson’s contributions to the TrueView code are not

themselves copyrightable.

                     (i)    Emerson’s Contribution to TrueView Code Consists of
                            Mathematical Formulas and Is Not Independently
                            Copyrightable

       In particular, Emerson’s work on TrueView consisted of taking known

trigonometric calculations needed for orthorectification and writing the code for these

calculations for FPGAs. Eaton Decl. ¶ 15. These trigonometric calculations are not

themselves copyrightable—even if Emerson had to expend some time writing the FGPA

code for them. The amount of discretion a programmer has in writing code for such

calculations is limited—primarily relating to choosing the order of operations, methods

for accessing memory, variable names, and optimizing efficiency. Id. However,



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mathematical formulas are not copyrightable material regardless of form in which they

are described. 17 U.S.C. § 102(b). For instance, the Pythagorean theorem is not

copyrightable regardless of whether a programmer chooses to express it as (a2 + b2 = c2)

or (x2 + y2 = z2).

       Moreover, the code written by Emerson was not original to Emerson. The

memory access code written by Emerson were drawn directly from Xilinx standard tools

and known efficient structures. Eaton Decl. ¶ 15. For his trigonometric calculations,

Emerson used existing CPU-based code as a starting point before using Xilinx tools to

convert the code for use with FPGAs. Id. ¶ 15. Emerson also received assistance from

other Peakspeed programmers well versed in the Xilinx’s tools and FPGA programming.

Id. ¶ 16. Accordingly, Emerson’s contributions are neither original nor authorship.

       On this point, Woods v. Resnick, 725 F. Supp. 2d 809 (W.D. Wis. 2010) is

instructive. In Woods, one founder of a business (Resnick) had experience in the

automobile sales industry and had an idea for a finance and insurance management

system. Id. at 813. Resnick asked his friend (Woods) to help develop a computer

program for his finance and insurance management system, and Woods wrote the source

code for such a program. Id. at 814-815. After a falling out, Woods sued Resnick

seeking a declaration that Woods was the owner of the copyright to the source code.

Resnick argued that he was a joint author—Resnick had written code or copy and pasted

Excel spreadsheet information into the code to perform calculations central to the

function of the software. Id. at 820. These calculations related to important items such

as sale price and balance due, finance charges, principal and interest payments, lease



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payments and finance reserves. Id. The Court noted that “[t]he underlying finance

formulas, whether categorized as business logic, algorithms or math equations, cannot

themselves be copyrighted.” Id. The court held that since there were only one or a few

ways of expressing these calculations on Excel, they were not copyrightable material and

Resnick was not a joint author. Id. at 821.

       The result should be the same here as well. Just like Resnick contributed only

financial calculations to the source code in Woods, Emerson contributed trigonometric

calculations to the source code here. Just like Resnick’s expression of those calculations

was limited due to the functional demands of Excel, Emerson’s expression of the

trigonometric calculations is limited to the functional demands of FPGAs. Neither

contribution is independently entitled to copyright protection, and therefore neither

Resnick nor Emerson is a joint author.

                     (ii)   Any Contributions by Emerson Have Been Re-Written in Any
                            Event.

       Not only did Emerson fail to contribute any copyrightable material in the first

place, but his contributions have been eliminated from the TrueView source code. After

Emerson attempted to alter the copyright notices on the TrueView source code—

Peakspeed began deleting all portions of code and Peakspeed programmers are rewriting

the code from scratch. Eaton Decl. ¶ 21. These programmers exercised their own

knowledge of Xilinx code to write the instructions anew—substituting their own

judgement for discretionary portions of the code such as order of operations, variable

codes, memory access, and the like. Id. Accordingly, the only aspects of the replacement




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code that will resemble Emerson’s code are the trigonometric formulas themselves—

which can only be expressed in a few ways using the Xilinx coding tools (variations will

come only in labelling such as variable names or order of operations). Id. In such

circumstances, Emerson cannot claim any ownership interest in the code. Cf. Comput.

Assocs. Int'l v. Altai, 982 F.2d 693, 714–15 (2d Cir. 1992) (holding that new version of

program, with copied source code re-written, did not infringe copyright of copied source

code because similarities were the result of information from the public domain and

functional demands).

                      (iii)   Emerson’s Insubstantial Contribution of 10% of the TrueView
                              Source Code Is Insufficient for Authorship

         In addition, Emerson’s small contribution, one of many contributors, cannot

establish him as a joint author. Courts have come up with several standards for

determining the intent element of the joint authorship test. The Second and Seventh

Circuits require that the putative joint author show not merely an intent to merge the

works into an inseparable or interdependent whole, but rather an intent to be joint

authors. Really Big Coloring Books, 2018 U.S. Dist. LEXIS 144225 at *7 (citing

Childress v. Taylor, 945 F.2d 500, 507-08 (2d Cir. 1991); Erickson v. Trinity Theatre,

Inc., 13 F.3d 1061, 1068-69 (7th Cir. 1994)). Other Circuits require merely an intent to

merge the works, but use other means to prevent an insubstantial contributor from

becoming a joint author. For instance, the Ninth Circuit1 requires that an author be the


1   Copyright practitioners, observers, and academics generally consider law from the
     Second and Ninth Circuits to be the most persuasive due to the volume of copyright
     cases handled in those two circuits every year. The geography of the two circuits



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“master mind” behind a work—the person with “creative control”—notwithstanding an

otherwise copyrightable contribution by someone else. Aalmuhammed v. Lee, 202 F.3d

1227, 1232–33 (9th Cir. 2000) (holding that person who wrote Malcolm X’s Hajj

pilgrimage scenes was not author of entire film, Malcolm X).

       Under either test, Emerson was not intended to be a joint author. Under the

Second and Seventh Circuit’s tests, Peakspeed plainly did not intend for Emerson to be a

joint author. Before Emerson’s resignation from Peakspeed and unilateral action in

changing the copyright notices, the TrueView source code expressly stated that the

copyright of the source code belonged to Peakspeed. See Eaton Decl. ¶ 19. Under the

Ninth Circuit test, Emerson fares no better. Emerson was not a “master mind” behind the

TrueView code. Emerson wrote only about 10% of the TrueView code. Id. ¶ 15. The

master minds of the TrueView program are Kramer and Zimmerman. Id. ¶¶ 12-14.

Indeed, Emerson does not have the technical knowledge to be the master mind or

exercise creative control of TrueView. To Peakspeed’s knowledge, Emerson has never

designed or written a full production software program (as opposed to merely a demo)

and had no knowledge of coding cloud-based applications. Id. ¶ 12. Emerson’s task was

merely to carry out the writing of the mathematical portion of the code for FPGAs at the

direction of others. Id. ¶¶ 14-15; see Kyjen Co., Inc. v. Vo-Toys, Inc., 223 F. Supp. 2d

1065, 1068 (C.D. Cal. 2002) (“[T]he creator of a work at another's direction, without

contributing intellectual modification, is not an author.”).


   includes Hollywood, Broadway, Silicon Valley, and much of the publishing,
   television, and music industries.



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              b. Emerson Also Cannot Be Co-Owner of TrueView Source Code
                 Copyright Because His Contributions Were a Work for Hire.

       Significantly, even if Emerson made an independently copyrightable contribution

and was intended to be a joint author, he cannot be a co-owner of the copyright to the

TrueView source code because his writing of the portions of code was a work for hire.

“In determining whether a hired party is an employee under the general common law of

agency, we consider the hiring party’s right to control the manner and means by which

the product is accomplished.” Cmty. for Creative Non-Violence, 490 U.S. at 751-52. The

factors relevant to the inquiry are:

                       (1) the source of the instrumentalities and tools;

                       (2) the location of the work;

                       (3) the duration of the relationship between the parties;

                       (4) whether the hiring party has the right to assign additional
                           projects to the hired party;

                       (5) the extent of the hired party's discretion over when and how
                           long to work;

                       (6) the method of payment;

                       (7) the hired party's role in hiring and paying assistants;

                       (8) whether the work is part of the regular business of the hiring
                           party;

                       (9) whether the hiring party is in business;

                       (10) the provision of employee benefits; and

                       (11) the tax treatment of the hired party.

Id. The weight of these factors favors finding Emerson to be an employee of Peakspeed.




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       The instrumentalities and tools used by Emerson were largely obtained by

Peakspeed. Eaton Decl. ¶ 17. The tools used by Emerson were licensed and paid for by

Peakspeed. Id. Peakspeed paid for tool packages from Microsoft and leveraged its

relationship with ESRI and Xilinx to obtain additional technical assistance for Emerson.

Id. Peakspeed also paid for an AWS account and rented a development server from AWS

for Emerson to use along with other programmers. Id. Peakspeed also opened and

maintained an account with Microsoft Azure. Id. Peakspeed also paid for Microsoft’s

DevOps program to serve as the location of the source code written by Emerson and

other programmers. Id. Moreover, while each Peakspeed employee worked out of his

own home from his own workstation—the location of the work was network-based

systems paid for and provided by Peakspeed. Id.

       The duration of the relationship, until Emerson resigned, was to be indefinite. Id.

¶ 10. Emerson was the Chief Technology Officer of Peakspeed. Id. He was not a

contractor hired on a temporary basis. Id. Peakspeed could assign him any projects

without limit—Emerson was not hired on a per project basis. Id. Instead he was paid a

salary by Peakspeed from Peakspeed’s business checking account. Id. Peakspeed was

also responsible for both hiring and paying Emerson’s assistants. Id. ¶¶ 10, 16.

Peakspeed hired several assistant programmers. Id. All of Emerson’s assistants were

paid directly by Peakspeed. Id. Peakspeed had final decision-making authority of the

assistants that would be hired. Id.

       Peakspeed is in business, and Emerson’s work was part of Peakspeed’s regular

business. Peakspeed is in the business of developing cloud-based FPGA



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orthorectification software. Emerson’s work was part of that core business—as discussed

above Emerson wrote FGPA code for the trigonometric calculations needed for

orthorectification. Accordingly, factors (1)-(9) all favor a finding that Emerson was an

employee of Peakspeed.

       The only factors that do not favor a finding Emerson was an employee are factors

(10) and (11)—Emerson did not receive a W2 and did not receive employee benefits.

However, no one factor is dispositive—and the weight of the factors clearly show that

Emerson—an officer of the company—was an employee. Accordingly, even if he was a

joint author of the TrueView source code (which he was not), Peakspeed still maintains

the ownership of the copyright of the TrueView source code under the work for hire

doctrine.

            2. Peakspeed Is Likely to Succeed in Demonstrating Its Right to Use the
               TrueView Source Code

       Significantly, even if Emerson had some ownership interest in the TrueView

source code—he still would not have the right to interfere with Peakspeed’s use of the

TrueView program for pilot programs or interfere with Peakspeed’s relationship with

Xilinx. Emerson wrote only 10% of the prior TrueView source code—assuming

arguendo that this gives him some ownership interest in the copyright, at most he is a

joint author (as opposed to sole author) with Peakspeed and/or its other programmers. It

is axiomatic, however, that “joint authors . . . have no right to interfere with a co-author’s

use of the copyrighted work.” 16 Casa Duse, LLC v. Merkin, 791 F.3d 247, 259 (2d Cir.

2015) (citing Childress, 945 F.2d at 508).




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      Yet, this interference with Peakspeed’s use of TrueView is precisely what

Emerson is attempting to do. First, he attempted to change the copyright of the entire

code—including code for which he had no involvement such as the cloud-

implementation code or CPU-based coding—to the name of EmersonAI. Eaton Decl. ¶

19. Second, he has attempted to interfere with Peakspeed’s use of the code by informing

Xilinx that there is a “misunderstanding,” and threatening to kill any deal with Xilinx—

all while simultaneously sending correspondence to Peakspeed and its employees

claiming that their use of TrueView constitutes copyright infringement. Id. ¶¶ 22-23, 25,

Exs. 1-4.

       Under no circumstances can Emerson lawfully claim the ability to stop

Peakspeed’s sale and use of TrueView. Therefore, his conduct in doing so, must be

enjoined.

            3. Peakspeed Likely to Prevail on Computer Fraud and Abuse Act and
               Conversion Claims

      Emerson’s actions locking Peakspeed employees out of Peakspeed’s servers and

AWS account is additional misconduct that forms the basis of two claims for which

Peakspeed is likely to prevail. First, Emerson’s conduct is a violation of the Computer

Fraud and Abuse Act (“CFAA”). The CFAA provides a cause of action against one who:

      [K]nowingly and with intent to defraud, accesses a protected computer
      without authorization, or exceeds authorized access, and by means of such
      conduct furthers the intended fraud and obtains anything of value, unless
      the object of the fraud and the thing obtained consists only of the use of the
      computer and the value of such use is not more than $5,000 in any 1-year
      period.

18 U.S.C. § 1030(a)(4).



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       The Peakspeed servers are “protected computers”—the servers are data processing

devices that affect interstate commerce. 18 U.S.C. § 1030(e)(1)–(2). In accessing the

computers after his resignation, Emerson accessed the serves without authorization.

Cloudpath Networks v. Securew2 B.V., 157 F. Supp. 3d 961, 984 (D. Colo. 2016); Estes

Forwarding Worldwide LLC v. Cuellar, 239 F. Supp. 3d 918, 920, 926 (E.D. Va. 2017);

Coll Builders Supply, Inc. v. Velez, No. 6:17-cv-933-Orl-40DCI, 2017 U.S. Dist. LEXIS

151257, at *24–25 (M.D. Fla. Aug. 31, 2017). In addition, by blocking Peakspeed

employees out of the servers, Emerson exceeded whatever authorization he had—he was

not authorized to change the access of other employees. United States v. Middleton, 231

F.3d 1207, 1209 (9th Cir. 2000); Wit Walchi Innovation Techs., GmbH v. Westrick, No.

12-CIV-20072-COHN/SELTZER, 2012 U.S. Dist. LEXIS 1847, at *2-3 (S.D. Fla. Jan. 6,

2012); Denarii Sys., LLC v. Tellez, No. 11-22149-CIV, 2011 U.S. Dist. LEXIS 167457,

at *19-20 (S.D. Fla. Oct. 14, 2011). Emerson’s access was in furtherance of a fraudulent

scheme—he attempted to change the copyright notices to the TrueView source code and

did change the assignment of the AWS account. In doing so, he obtained a $20,000

AWS credit.

       Second, Emerson’s changing the access to the AWS account also constitutes

conversion of the $20,000 credit. Conversion is “an act of willful interference with a

chattel, done without lawful justification, by which any person entitled thereto is deprived

of use and possession.” Larson v. Archer-Daniels-Midland Co., 32 N.W.2d 649, 650

(Minn. 1948). By changing the account, Peakspeed employees can no longer access the

credit. Therefore, Peakspeed has been deprived of the use and possession of the credit.



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Emerson intentionally changed the account and has no lawful justification for his actions.

Therefore, Peakspeed is likely to prevail on the merits of its CFAA and conversion

claims.

       C. Peakspeed Will Be Irreparably Harmed Without an Injunction.

       A continuing dispute concerning the use and ownership of TrueView will

irreparably harm Peakspeed. “Irreparable harm occurs when a party has no adequate

remedy at law, typically because its injuries cannot be fully compensated through an

award of damages.” Rogers Grp., Inc. v. City of Fayetteville, 629 F.3d 784, 789 (8th Cir.

2010) (internal quotations omitted). “Loss of intangible assets such as reputation and

goodwill can constitute irreparable injury.” Med. Shoppe Int'l, Inc. v. S.B.S. Pill Dr., Inc.,

336 F.3d 801, 805 (8th Cir. 2003) (internal quotations omitted). Loss of business

opportunities is also a valid ground on which to find irreparable harm. Aria Diagnostics,

Inc. v. Sequenom, Inc., 726 F.3d 1296, 1304 (Fed. Cir. 2013). Loss of market position

can likewise constitute irreparable harm. Allan Block Corp. v. E. Dillon & Co., No. 04-

3511 (JNE/JGL), 2005 U.S. Dist. LEXIS 13566, at *22 (D. Minn. July 1, 2005)

       The market for cloud-based FPGA orthorectification software is in its infancy.

Eaton Decl. ¶ 27. Currently, the demand for orthorectification is met by CPU-based

software, and it was only with the advent of cloud-based FPGAs, which itself is a recent

phenomenon, that a market for FGPA orthorectification became possible. Id.

Accordingly, the ability for a company to establish itself as a leader, incumbent, or first

mover is currently a wide-open business opportunity. Id. The leader that emerges will




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garner a reputation for innovation by offering the first widely-used software in this space.

Id.

       Peakspeed has invested the last six months of time in becoming that incumbent

with a reputation for innovation. Eaton ¶ 28. Through its efforts, Peakspeed has

established good will with Xilinx and a reputation with Xilinx as a reliable provider of

FPGA-based geospatial programs. Id. This relationship with Xilinx has led to pilot

opportunities for Peakspeed, and even Xilinx’s investment in those same opportunities.

By obtaining pilot opportunities, Peakspeed in one step closer to establishing itself as the

incumbent in the industry. Id.

       Now, however, Emerson threatens to devastate Peakspeed’s entire business: the

pilot opportunities and Peakspeed’s entire relationship with Xilinx. Emerson’s threats are

not veiled or couched but explicit: “[I]f either . . . Dave Eaton or Peakspeed brings a

lawsuit against EmersonAI, that will kill any business deals with Xilinx, because they

won’t do business with either EmersonAI or Peakspeed.” Id. Ex. 4 (emphasis added).

Obviously, Xilinx will not refer Peakspeed to clients, and clients would not act on any

referrals, if Peakspeed does not have the ability to license the TrueView software.

       Without any referrals, Peakspeed will lose the opportunity to establish itself as a

leader and innovator in the marketplace. An ownership dispute will also tarnish

TrueView’s good will and reputation with Xilinx. Indeed, Xilinx is already asking

Peakspeed whether the “misunderstanding” with Emerson is will cause a problem. Id. ¶

23. To make matters worse, Emerson’s misconduct is also hampering Peakspeed’s

ability to perform its business—by locking Peakspeed out of its AWS account, Emerson



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is causing Peakspeed to lose valuable development time to rebuild its development

environment and re-do other work. Id. ¶ 20.

       Emerson’s continued possession of the Peakspeed’s source code also presents the

problem that Emerson will attempt to use that code to compete against Peakspeed or

publicize the code to a Peakspeed competitor. Id. Enabling competitors to use the

TrueView Code to compete against Peakspeed will further deprive Peakspeed of business

opportunities and the ability to establish itself as the first-mover in an emerging market.

       Significantly, all of this harm is intangible in nature and cannot be adequately

remedied with monetary damages after a trial on the merits. Reputational harm and

injury to good will are intangible in nature—while monetary damages can be paid, they

cannot restore a party’s relationship (such as the relationship Peakspeed has with Xilinx).

Similarly, the opportunity to be the leader or first-mover in the market has many

intangible benefits—from attracting investors, to increased customer good will, to

establishing a technology as the incumbent technology for future development. The

simple payment of monetary damages can never adequately compensate a company that

has lost the opportunity to position itself as a leader or first mover in the marketplace.

Accordingly, injunctive relief is warranted.

       D. Balance of the Harms Favor Injunctive Relief

       The balance of harms also favors an injunction. In contrast to the irreparable harm

that Peakspeed will suffer without an injunction (discussed above), Emerson will not

suffer any harm from the issuance of an injunction. Emerson would merely be prohibited

from doing what he cannot lawfully do in any event—interfere with Peakspeed’s use of



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the TrueView source code. No harm can come to Emerson from refraining from

interfering with Peakspeed’s business. See Conroy v. Marianne’s Roofing Co. Ltd. Liab.

Co., No. 18-cv-436 (JRT/SER), 2018 U.S. Dist. LEXIS 53392, at *10 (D. Minn. Mar. 15,

2018) (“Granting a preliminary injunction would require [Defendant] to follow the law . .

. which it is already required to do. Therefore, there is no harm to [Defendant] by

imposing this requirement.”). The injunction will also require Emerson to return his

copies of the source code—to which he has no interest—and return Peakspeed’s access of

its AWS account. Emerson has no right to either, and can suffer no cognizable harm

from returning them to their rightful owner—Peakspeed. See Vendavo, Inc. v. Long, 397

F. Supp. 3d 1115, 1145 (N.D. Ill. 2019) (“[W]here the injunctive relief sought primarily

focuses on prohibiting a defendant from using information he should not have taken in

the first place, the balance of harms weighs heavily in favor of granting an injunction.”).

       E. Public Interest Favors Injunctive Relief

       The public interest favors fair competition and enforcement of intellectual

property rights. Control Data Sys. v. Infoware, Inc., 903 F. Supp. 1316, 1326 (D. Minn.

1995) (“the public interest is furthered by enforcing copyright laws”). Therefore, an

injunction will serve the public interest. The public interest will also be served by

enabling Peakspeed to continue its pilot programs and work towards development of a

faster orthorectification software—this will benefit the defense and intelligence

industries, and in turn provide for the safety of the American public. See NRDC v. Evans,

232 F. Supp. 2d 1003, 1054 (N.D. Cal. 2002) (“the public has a compelling interest in

protecting national security”).



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       F. Bond Should Be Minimal

       District courts have broad discretion in determining the amount of a bond to

secure a preliminary injunction. Hill v. Xyquad, Inc., 939 F.2d 627, 632 (8th Cir. 1991).

See Doctor John’s, Inc. v. City of Sioux City, 305 F. Supp. 2d 1022, 1043 (N.D. Iowa

2004) (waiving bond requirement as it was unclear what monetary damages could be

incurred by defendant as the result of an “improvident injunction” and because defendant

had not pointed to any evidence supporting that it would suffer compensable economic

effects). Because the potential harm to Emerson is minimal, the bond should be minimal

as well, and security in the amount of $5,000.00 is sufficient.

                                     CONCLUSION

       For the reasons, Peakspeed respectfully requests that its motion for preliminary

injunction be granted.




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